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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

                                                   PUBLIC VERSION

VLSI TECHNOLOGY LLC,
               Plaintiff,                       Lead Case: 1:19-cv-977-ADA

                                                (Consolidated for pretrial purposes only
    v.                                          with Nos. 6:19-cv-254-ADA, 6:19-cv-255-
                                                ADA, 6:19-cv-256-ADA)

INTEL CORPORATION,
               Defendant.




         DEFENDANT INTEL CORPORATION’S OPPOSED MOTIONS IN LIMINE1




1
 These motions address issues in C.A. No. 6:19-cv-00255. Pursuant to the Court’s consolidation
Order (D.I. 280), Intel has filed these motions only in the consolidated proceeding, C.A. No.
1:19-cv-00977. All citations to docket filings are on the docket in C.A. No. 1:19-cv-00977,
unless otherwise noted.
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                                 PRELIMINARY STATEMENT

        Plaintiff VLSI Technology LLC (“VLSI”) accuses Defendant Intel Corporation (“Intel”)

of infringing two patents and seeks                                 . The case involves several of

Intel’s complex microprocessors and numerous complicated issues, including parallel litigations.

Intel brings the motions in limine below in an effort to narrow the trial to the issues and evidence

that are relevant, admissible, and will assist the jury.

I.      MIL NO. 1: EXCLUDE REFERENCES TO OTHER LITIGATIONS AND
        PROCEEDINGS

        Pursuant to FRE 401, 402, and 403, this Court should exclude from trial any reference to

or presentation of evidence before the jury regarding other litigations or proceedings involving

either party, including the decisions by the Patent Trial and Appeal Board (“PTAB”) on Intel’s

petitions for inter partes review of the patents-in-suit; Intel’s challenge to the PTAB’s

discretionary denial practices under the Administrative Procedure Act; VLSI’s lawsuits against

Intel in the -254 and -256 Western District of Texas actions, including any reference to the -254

case, to the fact that a witness testified in the -254 case, or to the jury’s infringement verdict or

damages award in that case;2 VLSI’s actions against Intel in the District of Delaware, Northern

District of California, and China; Intel’s antitrust case against Fortress Investment Group; or any

other previous or current lawsuits, proceedings, or investigations involving Intel.

        Courts, including this one, routinely exclude references to other litigations and

proceedings involving the parties, including PTAB proceedings, because any probative value

would be outweighed by the substantial risk of prejudice and confusion. See, e.g., MV3 Partners

2
  Although a witness’s testimony from the -254 trial may be used for impeachment purposes, that
can and should be done without reference to the -254 trial, e.g., without reference to the
testimony having been given the -254 trial, or any other specifics on where or when the
testimony was given. For example, the prior testimony would just be referred to as “prior
testimony” or “prior testimony under oath,” without reference to the circumstances under which
that testimony was given.


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LLC v. Roku, Inc., No. 6:18-cv-00308-ADA, Dkt. 332 at 4 (W.D. Tex.) (granting motion in

limine to exclude references to “Inter Partes Review Concerning the Patent-in-Suit” and to

preclude “any references to a parallel proceeding”); Biscotti Inc. v. Microsoft Corp., No. 2:13-

CV-01015-JRG-RSP, 2017 WL 2537021, at *1 (E.D. Tex. May 30, 2017) (finding the probative

value in allowing the plaintiff to reference PTAB findings was “substantially outweighed by the

danger of the unfair prejudice”); Mobile Telecomms. LLC v. ZTE (USA) Inc., 2016 WL 8260584,

at *2 (E.D. Tex. July 22, 2016) (precluding any references or evidence “regarding unrelated

litigations, investigations, or accusations involving the parties or their affiliates or principles”);

Ion, Inc. v. Sercel, Inc., 2009 WL 10677596, at *3 (E.D. Tex. July 22, 2009) (“The parties’

actions in other cases are irrelevant to the present case.”). Indeed, in the -254 case, the Court

granted both parties’ motions to exclude evidence of prior litigation, including “[o]ther litigation

involving VLSI or Intel.” 12/15/20 Hr’g Tr. at 194:12-14 (granting VLSI’s motion to exclude

“Other Litigation In Which VLSI Is A Party” (D.I. 364)); 2021-01-20 Hr’g Tr. at 50:5-51:25

(stating that what the Court allowed “with respect to litigations and procedures that involved

VLSI” would “go both ways”).

       In the -254 case, VLSI argued that Intel was attempting “to have it both ways” because

Intel in the -255 case (for its marking defense) relies on the ITC’s determination that Sigmatel’s

35XX chips practice the ’522 and ’187 patents (the “Sigmatel ITC litigation”). D.I. 381-02 at 2.

VLSI’s criticism is unfounded. First, the ITC proceeding did not involve either VLSI or Intel,

but instead was between SigmaTel and Actions Semiconductor Co. D.I. 258, Ex. 114. Second,

VLSI has never disputed that the 35XX chips practice the ’522 and ’187 patents, and Intel’s

marking defense should be granted as a matter of law—as explained in Intel’s pending Motion

for Summary Judgment of No Pre-Complaint Damages Under 35 U.S.C. § 287 (D.I. 258).




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lawyers, so you may not see Mr. Stolarski every day. But he can watch what’s going on in an

adjacent courtroom. This is a very important case for VLSI.”).)




                                                     (C.A. No. 21-cv-00057-ADA, D.I. 520-1.)

Yet, during its rebuttal case, VLSI had its damages expert, Mr. Chandler, volunteer that he

“spoke with Mr. Stolarski” “[b]efore he had to leave for a medical issue[.]” (C.A. No. 21-cv-

00057, D.I. 570, 3/1/21 Trial Tr. [Chandler] at 1652:7-8.)         And during rebuttal closing

arguments, counsel for VLSI showed the jury a slide stating that Mr. Stolarski was

                                 “[g]ave two full days of deposition Intel could have used,” and

was “[w]atching trial on Zoom.” (C.A. No. 21-cv-00057, D.I. 553-07 at PDX10.72; C.A. No.

21-cv-00057, D.I. 570, 3/1/21 Trial Tr. at 1616:20-25 (“They took his deposition for two full

days under oath. They were able to, if they wanted to, play any or all of that deposition

testimony, and it’s considered as much weight as if he was testifying in a court of law.”).) There

was no evidence in the record before the jury concerning this deposition and was improper

argument, to which Intel objected. This was clearly an important issue to the jury, given that

juror note #1 asked “Could we see Stalarsky’s [sic] deposition?” (C.A. No. 21-cv-00057, D.I.

559.)

        To prevent VLSI from again misleading the jury regarding a witness’s attendance at

trial—and misleading the jury further about deposition designations that Intel may decide not to

play—Intel requests an order precluding VLSI from offering argument or evidence (including

during voir dire, or in opening and closing statements, witness testimony, or demonstratives)




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concerning facts not in evidence about why a witness is not present live at trial, including, for

example, (1) whether a witness may be watching trial in the overflow room or remotely,

(2) whether a witness has                                          for not being present at trial, or

(3) whether deposition testimony exists that could be played for a witness not present live at trial.

VLSI’s experts also should be precluded from offering information or commentary that is not in

their reports about the availability or unavailability of other witnesses, including the reasons a

witness may not be present in the courtroom.

IV.    MIL NO. 4: EXCLUDE OPINION COMMENTARY ON CASE PUBLICITY OR
       IMPORTANCE

       The jury in this case, as in every case, will be instructed not to review or consider news

reports about the case or discuss the case with anyone, including fellow jurors. In the -254 case,

however, references were made by the Court and by VLSI to the jury about the importance of the

case, the wide publicity it was receiving, and the large number of people across the country who

were watching the trial. See, e.g., C.A. No. 6:21-cv-00057, D.I. 566, 2/23/21 Trial Tr. at 405:10-

13 (“If you are listening in, the jury -- so you know, this is being broadcast by phone. People all

across the United States are listening in to this trial, wishing they had your seats on the jury and

could be here. And so we are going to cut that feed off at this time, and we'll resume it when we

unseal the courtroom.”), D.I. 569, 2/26/21 Tr. at 1305:11-14 (“It’s been reported in the

Washington -- Waco Tribune. It’s been reported other places, and I don’t want you to see

anything that's being published about the case other than what you’ve seen in the courtroom.”),

D.I. 570, 3/1/21 Tr. at 1626:8-10 (“You’ve heard His Honor say that this trial is being broadcast.

And many, many people who aren’t in the courtroom because of safety protections are watching

every day.”).    Comments like these would not only make it more likely that jurors will

improperly try to consult inadmissible out-of-court sources for additional information about the



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case, but also would risk severe prejudice to Intel by misleading the jury into concluding that the

asserted patents are so important and valuable that they have captivated widespread attention

across the country. Intel therefore requests an order precluding any commentary before the jury,

including during voir dire, concerning the amount of publicity the case is receiving, the number

of people watching or listening to the trial, the importance of the case to those who are watching

or listening, and other similar issues.

V.     MIL NO. 5: EXCLUDE REFERENCES                           TO     IRRELEVANT          TEXAS
       CONNECTIONS DURING VOIR DIRE

       During jury empanelment in the -254 trial, counsel for VLSI volunteered to the venire

several tangential and irrelevant personal connections to Texas—including cases he had

previously tried in Texas counties and the details of prior cases in which he had represented

Texas companies and prestigious individuals against larger corporations. (E.g., C.A. No. 6:21-

cv-00057, D.I. 565, 2/22/21 Trial Tr. at 28:4-14 (“I’ve been lucky enough to have cases -- or to

try cases in a number of places in Texas: Dallas, Houston, Austin, Marshall, Tyler, Texarkana

and some other places. And of course right now in Waco. So I’ve also had the privilege of

representing numbers of companies here. … I’ve had the privilege of representing Texas

Instruments on a number of matters, including a big case against Samsung.); id. at 29:13-30:2

(“There was an inventor at Texas Instruments. His name is Jack Kilby. In 1958 he invented the

integrated circuit, won the Nobel Prize. … I’ve also had the privilege of representing the folks at

Baylor College of Medicine. … I’ve had the privilege of working with Compaq Computer….

That became one of the world’s largest computer companies before they merged with Hewlett

Packard. … They were based in Houston.”).)

       These comments were improper. They were not calculated to discover or assess jury bias

or prejudice, but were instead clearly targeted at currying favor with the venire and attempting to



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impress them with prior representations and credentials—to suggest that if counsel for VLSI had

represented important Texas companies and individuals in the past, it was doing so again in this

litigation, and that those companies needed defending from larger corporations. This type of

gamesmanship is improper and should be precluded. See Fed. R. Civ. P. 47(a).

VI.      MIL NO. 6: EXCLUDE USE OF DEMONSTRATIVES THAT CONTAIN
         UNDESIGNATED   OR  OTHERWISE  INADMISSIBLE  DEPOSITION
         TESTIMONY

         During the -254 trial, VLSI repeatedly attempted to have its experts offer demonstratives

that referenced hearsay deposition testimony that VLSI had not designated for trial. After Intel

objected (C.A. No. 6:21-cv-00057, D.I. 511 at 1), the Court agreed that VLSI could not introduce

testimony in this manner unless the testimony was separately offered to the jury during trial.

(C.A. No. 6:21-cv-00057, D.I. 566, 2/23/21 Trial Tr. at 311:19-312:12 (“[I]f an expert is going to

rely on deposition testimony -- whatever he was going to rely on, whether it’s something

someone said in the courtroom that we all heard, or he’s going to say that X -- Joe Smith said

this in his deposition, that testimony is going to have to be put into the record during the course

of the trial, or I agree with you, it is hearsay. … [E]xperts will only be able to rely on deposition

testimony that the jury actually hears and is actually in the record.”); id. at 318:19-22 (“All of the

testimony that anyone is going to rely on has to be put in, because whatever snippet you want to

use of a deposition, Mr. Lee and his team may feel like they need to cross-designate some other

portion from a deposition.”).) Consistent with that ruling, Intel respectfully requests an order

that precludes from the -255 trial any demonstratives that contain deposition testimony that VLSI

has not designated for use at trial, or any other testimony that is not separately admitted during

trial.

VII.     MIL NO. 7: EXCLUDE INCOMPLETE, SELECTIVE REFERENCES TO
         ENTITIES THAT MAY BENEFIT FROM POTENTIAL RECOVERY BY VLSI



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parties that might obtain recovery through their investments in companies that may invest in

VLSI should be excluded as irrelevant because they have no bearing on any issue the jury will be

asked to decide.    Evidence related to these purported “investors” also should be excluded

because any minimal probative value would be outweighed by the risk of unfair prejudice,

misleading the jury, and confusing the issues. FRE 403. Any attempt by VLSI to suggest that

the lawsuit will benefit sympathetic groups such as teachers’ unions and an in-state college

would be an improper emotional appeal and unfairly prejudicial to Intel. See Old Chief v. United

States, 519 U.S. 172, 180 (1997) (noting need to avoid unfair prejudice under FRE 403 based on

“an undue tendency to suggest decision on an improper basis, commonly, though not necessarily,

an emotional one”).3

       Finally, if the Court permits VLSI to offer such testimony, Intel should at least be

permitted to rebut these mischaracterizations,




                       . See Rodgers v. Beechcraft Corp., 2017 WL 592225, at *4 (N.D. Okla.

Feb. 14, 2017), aff'd, 759 F. App’x 646 (10th Cir. 2018) (“Plaintiffs should be not be permitted

to use [certain evidence] as a means to bolster their own case, while preventing defendants from

using [similar evidence] as a defense.”); Karlo v. Pittsburgh Glass Works, LLC, 2016 WL 69651,

at *10 (W.D. Pa. Jan. 6, 2016) (denying plaintiffs’ attempt to “have it both ways” by

“introduc[ing] testimony and evidence” to support their case while also “ask[ing] the Court to



3
  VLSI should not be permitted to argue that Intel has opened the door on this issue merely by
inquiring as to whether Mr. Stolarski or other potential trial witnesses stand to benefit personally
depending on the outcome of the case—classic facts of witness bias that Intel should be allowed
to probe without risk of claims that it has opened the door more broadly to the involvement of
other “investors.”

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hide from the jury the full picture”); Mobile Telecomms. Techs., 2016 WL 8260584, at *3

(permitting defendant to “provid[e] a fair and factual overview of [plaintiff’s] business model”);

Finjan, Inc. v. Blue Coat Sys., Inc., 2015 WL 4129193, at *2 (N.D. Cal. 2015) (“[F]actual

evidence concerning Plaintiff’s business . . . is relevant to a damages analysis under the Georgia-

Pacific factors.”); DNT, LLC v. Sprint Spectrum, LP, 2010 WL 582164, at *4 (E.D. Va. Feb. 12,

2010) (corporate structure and business of patent owner “is relevant to the issue of witness

bias”).

          Further, if VLSI offers evidence or argument regarding “teachers’ unions,” “pension

funds,” “Texas A&M,” or any other “investors” who allegedly stand to benefit from this case,

Intel also should be allowed to introduce other evidence that the Court has previously excluded

at VLSI’s request—including as to



                                                                 . If VLSI opens the door with

respect to “investors,” all this evidence would be necessary to provide the complete picture of the

money trail for this case (involving both where the money is coming from and where it may go).

(D.I. 364 at 1-3 (VLSI MIL 2.1); id. at 6 (VLSI MIL 2.5); D.I. 365 at 6-9 (VLSI MIL 3.2); D.I.

369 at 8-9 (VLSI MIL 5.4); C.A. No. 21-cv-00057, D.I. 508 at 3-4.) VLSI cannot suggest that

sympathetic entities would benefit from a verdict in VLSI’s favor while simultaneously

preventing Intel from demonstrating how it has contributed to and positively impacted the

community,                                                                  .

VIII. MIL NO. 8: EXCLUDE EXPERT OPINION ON INFRINGEMENT UNDER
      DOCTRINE OF EQUIVALENTS

          In their reports,




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Given this lack of disclosure, VLSI’s experts should be precluded from offering any

infringement theory at trial under the doctrine of equivalents—which would violate FRCP 26’s

requirement for expert reports to provide “a complete statement of all opinions the witness will

express and the basis and reasons for them” and “the facts or data considered by the witness in

forming them.” (See also D.I. 268, 337-02 (Intel’s Daubert motion seeking to exclude VLSI’s

experts’ conclusory doctrine of equivalents analysis); D.I. 257, 326-02 (Intel’s motion seeking

summary judgment of no infringement under the doctrine of equivalents).)

       This type of conclusory placeholder paragraph also fails to provide the type of

“particularized testimony and linking argument” required to sustain a proper equivalents

theory—which “must be presented on a limitation-by-limitation basis,” and for which

“[g]eneralized testimony … will not suffice.” Gemalto S.A. v. HTC Corp., 754 F.3d 1364, 1374

(Fed. Cir. 2014); Tex. Instr. Inc. v. Cypress Semiconductor Corp., 90 F.3d 1558, 1567 (Fed. Cir.

1996); see Genband US LLC v. Metaswitch Networks Corp., 2016 WL 3475688, at *2 (E.D. Tex.

2016) (striking barebones equivalents theory because “[c]onclusory opinions unsupported by

‘facts or data’ and based on no discernable ‘principles and methods’ are not admissible under

Fed. R. Evid. 702”); Smith & Nephew, Inc. v. Arthrex, Inc., 2010 WL 457142, at *7-9 (E.D. Tex.

2010) (precluding “boilerplate and conclusory” equivalents opinions “no more meaningful than

[the expert] merely stating that the doctrine of equivalents is met for a particular element” to

avoid “unfairly prejudice[ing] [the defendant] and defeat[ing] one of the primary purposes that

the expert report serves”); TC Tech. LLC v. Sprint Corp., 2019 WL 2515779, at *10-11 (D. Del.

2019) (excluding “conclusory” equivalents theory as not “based on sufficient facts or data”).




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IX.    MIL NO. 9: EXCLUDE ARGUMENT OR EVIDENCE OF WILLFUL
       INFRINGEMENT

       VLSI should be precluded from offering evidence at trial concerning (1) Intel’s alleged

“policy” of discouraging its engineers from reviewing the patents of other companies, and (2) the

fact that Intel continued manufacturing the accused products after the filing of this litigation.

The Court has already held that Intel’s purported policy is legally insufficient to show willful

blindness—i.e., the sole theory under which VLSI has claimed the policy is relevant. (D.I. 52 at

1 (“The Court finds that Intel’s policy that forbids its employees from reading patents held by

outside companies or individuals is insufficient to meet the test of willful blindness.”).) The

Court also has already determined that mere continued manufacturing of accused products after

the commencement of litigation cannot support a claim of post-suit willfulness—i.e., the only

post-suit evidence that VLSI has cited in support of its willfulness claims. (12/15/20 Hr’g Tr. at

86:2-5 (“I’m not going to permit VLSI to argue . . . in support of . . . willfulness that Intel

continued to manufacture the products . . . after they were sued.”).)4 Therefore, both categories

of evidence should be excluded at trial.5

       Nevertheless, if the Court permits VLSI to offer evidence and/or argument at trial

directed to its willfulness claims, Intel’s fact witnesses should be allowed testify that they have

reviewed the asserted patents and formed a belief that Intel does not infringe—based on their

own personal knowledge of the accused products (and without offering expert testimony). In

4
  VLSI alleges that “Intel has long had knowledge of” the asserted patents. Ex. 19 [VLSI’s Resp.
to Interrog. No. 1] at 9. But it tellingly fails to identify any date prior to its assertion of the
asserted patents on which Intel allegedly obtained that purported knowledge, any evidence to
support any such date, or any facts even remotely suggesting that Intel pressed forward with its
accused conduct despite believing it infringed or otherwise consistent with the conduct of a
“pirate.” See Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1932 (2016).
5
  Because these two items are the only categories of evidence that VLSI has identified in support
of its willfulness claims, VLSI should not be permitted to offer any evidence or argument
regarding willful infringement to the jury, as Intel has previously explained. (D.I. 252, 321-02.)


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other words, if the Court permits VLSI to allege that Intel is knowingly infringing the asserted

patents, VLSI cannot fairly seek to bar Intel’s fact witnesses from offering rebuttal factual

testimony within the scope of their personal knowledge that refutes those allegations. See, e.g.,

Chamberlain Grp., Inc. v. Lear Corp., 2011 WL 13254690, at *4 (N.D. Ill. Mar. 22, 2011)

(denying motion in limine to exclude “testimony by . . . any corporate representative or witness

that Lear was not willful because it believed it did not infringe” and permitting witnesses to

provide “the basis of their testimony”); see also Eko Brands, LLC v. Adrian Rivera Maynez

Enters., Inc., 946 F.3d 1367, 1377 (Fed. Cir. 2020) (facts relevant to willfulness include

“[w]hether or not [defendant] reasonably believed it did not infringe”).

       The same result also should apply if VLSI otherwise “opens the door” to this type of fact

testimony. For example, if VLSI offers evidence or argument at trial in an attempt to suggest

that Intel failed to take sufficient steps to “avoid” infringement, Intel should be permitted to offer

evidence and argument responding to that allegation—including by having Intel fact witnesses

testify about their own personal belief that Intel does not infringe based on the accused products

(which confirms that Intel did not need to take any steps to avoid infringement because there was

no infringement to avoid in the first instance).

X.     MIL NO. 10: EXCLUDE ARGUMENT, TESTIMONY, OR SUGGESTION THAT
       INTEL IS A “PATENT HOLDOUT” OR REFUSES TO TAKE A LICENSE
       OUTSIDE OF LITIGATION

       VLSI should be precluded at trial (including at voir dire) from offering evidence or

argument suggesting that Intel refuses to license patents outside of litigation, only pays

meaningful royalties in litigation settlement agreements, forces patent owners to file suit, or has a

“wait and see” attitude when approached with a patent (including by using the terms “patent

holdout,” “unwilling licensee,” or other similar labels).




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        First, any of these characterizations would violate the Court’s existing Daubert ruling,

which prohibits VLSI from offering argument or testimony suggesting that Intel is a holdout or is

“unwilling[] to license absent a lawsuit.” (C.A. No. 21-cv-00057, D.I. 507 at 2.) VLSI should

not be permitted to evade this ruling at trial by using similar phrases or labels used to make the

same type of argument.

        Second, any suggestion that Intel refuses to take a license outside of litigation, will not

pay meaningful royalties outside of litigation settlements, or has a “wait and see” attitude is

irrelevant and highly prejudicial. Intel’s decisions about whether and/or when to license other

patents, or to settle other cases involving other patents, have nothing to do with the merits of this

case. Indeed, VLSI concedes that it has not identified a single Intel litigation settlement that is

either economically or technically comparable to the hypothetical negotiation in this case. (D.I.

252-58 [Chandler Dep.] at 236:8-22, 236:25-237:23.) A suggestion that Intel refuses to take a

license outside of litigation would create the (incorrect) impression that Intel improperly refuses

to license patents unless it is sued, is a serial litigant/infringer, or is somehow to blame for this

case going to trial and the jury being asked to serve during a pandemic. Wellogix, Inc. v.

Accenture, L.L.P., 716 F.3d 867, 882 (5th Cir. 2013) (“A district court may exclude relevant

evidence if its probative value is substantially outweighed by a danger of … unfair prejudice,

confusing the issues, [or] misleading the jury” (citations omitted)); MLC Intell. Prop., LLC v.

Micron Tech., Inc., 2019 WL 2437073, at *4 (N.D. Cal. June 11, 2019) (granting motion in

limine seeking to exclude characterization of accused infringer as a patent “holdout” as

prejudicial).

        Finally, as set forth in Intel’s motion in limine No. 1, VLSI should not be permitted to

offer evidence or argument referring to other litigations involving either party, which would




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unduly prejudice Intel and present a substantial risk of confusing the jury.             References to

instances in which Intel decided to go to court to defend itself or decided to settle litigation

would do just that. See Mendenhall v. Cedarapids, Inc., 5 F.3d 1557, 1574-75 (Fed. Cir. 1993)

(holding evidence from other litigations risked confusing jury); Sentius Int’l, LLC v. Microsoft

Corp., 2015 WL 451950, *7 (N.D. Cal. Jan. 27, 2015) (excluding opinion based on settlement

from other litigation because the agreement would “confuse the jury about the facts and

circumstances of that dispute and prejudice the jury by suggesting that Microsoft is a serial

infringer”); Retractable Techs. v. Becton, Dickinson & Co., 2009 WL 8725107, at *2-3 (E.D.

Tex. Oct. 8, 2009) (excluding references to prior litigations involving accused infringer that

could mislead jury into thinking accused infringer had “a character … to violate laws warranting

suit”).

XI.       MIL NO. 11: EXCLUDE IRRELEVANT AND PREJUDICIAL REFERENCES TO
          INTEL’S SIZE, WEALTH, AND FINANCIAL PERFORMANCE

          Pursuant to FRE 402 and 403, Intel requests that the Court preclude VLSI from referring

to Intel’s total company revenues, referencing Intel’s size, financial performance, and/or

market/competitive      position,   or   using   pejorative   characterizations   like    “dominant,”

“monopolist,” “goliath,” or “bully” pertaining to Intel’s size, wealth, and financial performance

that would unfairly “skew the damages horizon for the jury.” Uniloc USA, Inc. v. Microsoft

Corp., 632 F.3d 1292, 1320 (Fed. Cir. 2011). Courts routinely exclude such evidence and

argument because any probative value is substantially outweighed by the risk of unfair prejudice,

confusion of the issues, and misleading the jury. See id. at 1320-21; Oil-Dri Corp. of Am. v.

Nestle Purina Petcare Co., 2019 WL 5206273, at *2 (N.D. Ill. Mar. 13, 2019) (precluding

evidence of defendant’s “size and wealth” because portraying defendant as a “multi billion dollar

multinational company” would “inflame the jury”); Mars, Inc. v. Trurx LLC, 2016 WL 4055675,



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at *1 (E.D. Tex. Apr. 29, 2016) (precluding “derogatory remarks” such as “‘Goliath,’

‘Monopolist,’ or ‘Bully.’ Additionally, Defendants are not permitted to address [plaintiff’s] total

revenue.”); HTC Corp. v. Tech. Properties Ltd., 2013 WL 4782598, at *6 (N.D. Cal. Sept. 6,

2013) (“Federal Circuit case law does not permit the use of a company's overall size or revenue

as a check to confirm the reasonableness of a jury award. … [T]he probative value of evidence

related to [the company’s] size, wealth, or overall revenues is substantially outweighed by the

risk of unfair prejudice … necessitating its exclusion … .”); Union Carbide Corp. v. Montell

N.V., 28 F. Supp. 2d 833, 841 (S.D.N.Y 1998) (precluding reference to company’s “dominant”

position in the industry).6

XII.   MIL NO. 12: EXCLUDE RELIANCE ON IRRELEVANT AND PREJUDICIAL
       REFERENCES TO TOTAL REVENUES FOR THE ACCUSED PRODUCTS

       It is well-settled law that a plaintiff can refer to the defendant’s total accused product

revenues only if the plaintiff satisfies the “entire market value rule”—by showing that the

specific accused features are “the basis” for customer demand for the accused products. Lucent

Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1336 (Fed. Cir. 2009) (patentee can introduce all

accused revenues only if it “prove[s] that the patent-related feature is the basis for customer

demand.”) (internal quotation and citation omitted).

       It is undisputed that the entire market value rule does not apply here.




6
  The Court granted a similar motion in limine in the -254 case (D.I. 362, Intel MIL No. 6), and
precluded VLSI from relying on overall Intel revenues (1/20/21 Hr’g Tr. at 58:17-24 (“The fact
that Intel made a gazillion billion dollars or anything that’s general that is unnecessary for the
damages calculation needs to be kept out ….”)). The Court also granted a motion in limine
preventing both parties from making pejorative statements about either party’s business model.
D.I. 364, VLSI MIL 2.3; 12/15/20 Hr’g Tr. at 194:7-8. The same rulings are warranted here as
well.


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LaserDynamics, Inc., 694 F.3d at 80 (district court “erroneously permitted continued reliance on

[patent license] where comparability between it and a hypothetical license to the [Asserted]

Patent was absent”); Elbit Sys. Land & C4I Ltd. v. Hughes Network Sys., LLC, 927 F.3d 1292,

1299 (Fed. Cir. 2019) (“[P]rior licenses or settlements need to be ‘sufficiently comparable’ for

evidentiary purposes and any differences in circumstances must be soundly accounted for.”)

       For these reasons, courts routinely and consistently exclude non-comparable agreements

as:

       (1)     irrelevant because they have no bearing on a proper damages analysis, see

LaserDynamics, 694 F.3d at 80 (disallowing non-comparable licenses because such licenses

“simply [had] no place in [the] case”); ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 870-73

(Fed. Cir. 2010) (cautioning trial court not to rely on “unrelated licenses” on remand);

Flexuspine, Inc. v. Globus Med., Inc., 2016 WL 9282314, at *3 (E.D. Tex. Aug. 5, 2016)

(precluding reliance on an agreement because “it was not sufficiently comparable to

circumstances of a hypothetical negotiation in this case to aid the trier of fact”); CoreLogic Info.

Sols., Inc. v. Fiserv, Inc., 2012 WL 4761739, at *2 (E.D. Tex. Sept. 20, 2012) (excluding

settlement agreements and holding “no party may introduce the amount of a settlement or royalty




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amounts with an appropriate reasonable royalty. See id. at 78 (excluding settlement that was “six

times larger than the next highest amount paid for a license to the patent-in-suit and ostensibly

reflects not the value of the claimed invention but the strong desire to avoid further litigation

under the circumstances”); Sentius Int’l, 2015 WL 451950, at *1-9 (excluding opinion based on

non-comparable settlement agreement because admission would “confuse the jury about the facts

and circumstances of that dispute and prejudice the jury by suggesting that Microsoft is a serial

infringer”).

       In addition, settlement agreements—even if comparable—are generally disfavored and

admissible only in “limited” circumstances where they are “uniquely relevant and reliable.”

LaserDynamics, Inc., 694 F.3d at 77 (noting Federal Circuit’s “longstanding disapproval of

relying on settlement agreements to establish reasonable royalty damages”); Fenner Invs., Ltd. v.

Hewlett-Packard Co., 2010 WL 1727916, at *2 (E.D. Tex. Apr. 28, 2010) (“Settlement

agreements are generally not relevant ‘because in the usual course they do not provide an

accurate reflection of what a willing licensor would do in an arm’s length transaction.’” (citation

omitted)). Because no such evidence of uniqueness exists here, VLSI should be precluded from

offering evidence or argument at trial directed to Intel’s settlement agreements.

       Second, if the Court permits VLSI to offer evidence or argument concerning Intel’s

settlement agreements (to which Intel objects), then VLSI should be required to raise the

agreements in its case-in-chief. VLSI has the burden to prove damages. Lucent Techs., Inc., 580

F.3d at 1324. If VLSI maintains that the agreements are relevant to its damages arguments, it

should be required to offer them in its case-in-chief—and not be allowed to first spring them on

Intel during VLSI’s rebuttal case. See Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1081–82

(Fed. Cir. 2015) (holding rebuttal evidence is limited to “that which is responsive to the




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adversary’s evidence”); Eason v. Fleming Cos., 1993 WL 360736, at *7 (5th Cir. Aug. 24, 1993)

(“[R]ebuttal evidence may not be used merely to continue the plaintiff’s case-in-chief, and such

evidence is not admissible merely to remedy a defect in the plaintiff’s case.”); Cates v. Sears,

Roebuck, Co., 928 F.2d 679, 685 (5th Cir. 1991) (same); see also Settling Devotional Claimants

v. Copyright Royalty, 797 F.3d 1106, 1118-19 (D.C. Cir. 2015) (rejecting argument that

“weighty evidence may be saved for the rebuttal case”).

        The impropriety of allowing VLSI to introduce the non-comparable agreements in its

rebuttal case is clear from the manner in which the agreements were introduced in the first trial

(C.A. No. 6:21-cv-00057) and their effect on the jury.




                                                                 At this late hour, and without the

opportunity for a surrebuttal case, the interjection of irrelevant, non-comparable settlement and

other agreements after Intel’s damages expert had concluded his direct examination greatly

prejudiced Intel and misled the jury into believing that these non-comparable, high-dollar

amount, agreements were relevant to the determination of reasonable royalty damages. For

example, the jury awarded $1.5 billion in damages for the ’373 patent,

                                                                          which VLSI’s attorneys

and Mr. Chandler repeated multiple times. (Id. [Closing] at 1622:4-8 (“Intel also paid $1.5

billion to Nvidia for a license to their patents”);



                                          If the Court allows these non-comparable agreements into




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evidence over Intel’s objections, VLSI should be required to introduce these settlements during

its case-in-chief so that Intel has an opportunity to address them during its case-in-chief.

       That same result should apply even if Intel offers evidence in its affirmative case directed

to Intel license agreements that are, in fact, comparable to a hypothetical license for the asserted

patents. Because VLSI and its experts do not contend that any of Intel’s settlement agreements

are comparable—either technologically or economically—it would be improper to allow VLSI to

introduce evidence or argument in its rebuttal case based on the pretext of supposedly responding

to Intel’s comparability analysis. See United States v. Sadler, 488 F.2d 434, 435 (5th Cir. 1974);

Belden Inc., 805 F.3d at 1082 (noting proper rebuttal evidence must “explain, repel, counteract,

or disprove” facts first offered in defendant’s case-in-chief); Eason, 1993 WL 360736, at *7

(excluding rebuttal testimony where “the actual purpose of this testimony was to corroborate”

plaintiff’s evidence, not rebut defendant’s evidence); Tramonte v. Fibreboard Corp., 947 F.2d

762, 764-65 (5th Cir. 1991) (excluding rebuttal testimony of plaintiff’s expert that did not

address specific testimony provided by defendant’s expert); Little v. Ford Motor Co., 2017 WL

6994586, at *8 (N.D. Ga. Dec. 21, 2017) (holding plaintiff’s expert’s “opinions on design

documents are not proper rebuttal testimony” where “[n]one of Defendant’s experts offered

opinions on these design documents”).

XIV. MIL NO. 14: EXCLUDE RELIANCE ON DR. SULLIVAN’S UNDISCLOSED
     AND UNDULY PREJUDICIAL PER-UNIT DAMAGES NUMBERS

       Intel requests that the Court preclude VLSI and its damages expert Ryan Sullivan from

presenting “per-unit” damages numbers at trial—

                                   Intel has not had any opportunity to evaluate or respond to any

per-unit numbers.




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       Specifically, a per-unit royalty (a payment made for each unit sold) is fundamentally

different than a lump sum royalty (a single final payment amount for all units sold)—which

means that the evidence necessary to respond to a damages opinion based on a per-unit rate can

be very different than the evidence necessary to respond to a lump sum opinion. Lucent Techs.,

Inc., 580 F.3d at 1326 (“Significant differences exist between a running royalty license and a

lump-sum license[,]”; “[c]ompared to a running royalty analysis, a lump-sum analysis involves

different considerations.”).9




                                                          . As a result, Intel did not question Dr.

Sullivan about per-unit numbers at his deposition and Intel’s experts did not evaluate or respond

to per-unit numbers in their reports.

       Federal Rule of Civil Procedure 26 specifically precludes parties from offering new,

previously undisclosed theories at trial. Fed. R. Civ. P. 26 (a)(2); Siemens Med. Sols. USA, Inc.

v. Saint-Gobain Ceramics & Plastics, Inc., 637 F.3d 1269, 1286-87 (Fed. Cir. 2011) (affirming

expert “could not testify on matters not disclosed in his expert report or deposition”). This rule



9
 For example, where the plaintiff timely discloses a per-unit damages theory, the defendant can
explain (1) the reasons the parties to the hypothetical negotiation may not have agreed to a per-
unit structure (including because of the administrative difficulty and uncertainty of per-unit
payments); (2) the royalty stacking issues presented by the per-unit number; and (3) evidence
showing that even if a per-unit rate is appropriate, a lower unit rate should apply.

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was designed for precisely this type of situation. Intel has had no opportunity (or reason) to

consider or respond to any per-unit damages number in this case—including (through either its

own experts or Dr. Sullivan’s deposition) to develop an evidentiary record explaining why the

parties to the hypothetical negotiation would not have agreed to a per-unit structure, the royalty

stacking problems presented by a per-unit rate, or to rebut the amount of any per-unit rate that

Dr. Sullivan might offer.

       To avoid the obvious and significant prejudice to Intel that would result if VLSI and/or

Dr. Sullivan are permitted to present evidence or argument at trial directed to a

                        per-unit damages number or theory, VLSI should be precluded from

doing so. See Rembrandt Vision Techs., L.P. v. Johnson & Johnson Vision Care, Inc., 725 F.3d

1377, 1381-82 (Fed. Cir. 2013) (precluding expert testimony on undisclosed theories because

“[t]he purpose of the expert disclosure rule is to,” among other things, “arrange for expert

testimony from other witnesses.”).

XV.    MIL NO. 15: EXCLUDE REFERENCES TO INNOGRAPHY PATENT
       STRENGTH SCORES

       VLSI should be precluded from introducing any evidence or argument regarding third-

party CPA Global’s “patent strength” scores generated by that company’s “Innography” software

suite (which purports to measure                                                             Any

such evidence or argument concerning the Innography scores for the ’187 and ’522 patents

should be excluded as undisclosed by any expert (for the ’522 patent), irrelevant, unfairly

prejudicial and confusing to the jury, and inadmissible hearsay.



                                      . As a result, Federal Rule of Civil Procedure 26 bars VLSI

and its experts from attempting to disclose those scores or make any argument based on them for



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the first time at trial. Fed. R. Civ. P. 26 (a)(2); Siemens, 637 F.3d at 1286 (Federal Circuit

affirming expert “could not testify on matters not disclosed in his expert report or deposition”).




                        But VLSI has identified no evidence that the Innography scores have the

required nexus to any supposed merits of the claimed inventions. In re GPAC Inc., 57 F.3d

1573, 1580 (Fed. Cir. 1995) (“For objective evidence to be accorded substantial weight, its

proponent must establish a nexus between the evidence and the merits of the claimed

invention.”).

       In particular, there is no evidence that the Innography score-generating algorithm rests in

any way on the actual substantive disclosure of the patent and/or the scope of its claims. Instead,

the record shows that the algorithm only considers criteria such as how many claims a patent has,

how many references it cites, and, even more remarkably, how many times it has been asserted

in litigation, without regard to the merit or outcome of such litigation (meaning the score would

increase if a patent owner files a series of lawsuits, even if baseless). (Ex. 12 at 68419.) Such a

fundamentally flawed metric—wholly divorced from any supposed merits of the specific patent

claims at issue here—is not probative of the claims’ alleged non-obviousness. See Personalized

Media Commc’ns, L.L.C. v. Zynga, Inc., No. 2:12-cv-00068, D.I. 232, at 1 (E.D. Tex. 2013)

(excluding third-party “Patent Quality Inventor Study” that purported to rank asserted patent

inventor as “the top rated inventor in the wireless invention category” because “it lacks the




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not make it admissible. Although experts can rely on hearsay in certain circumstances, they

cannot serve as simple conduits to introduce hearsay evidence. Robroy Indus.-Tex., LLC v.

Thomas & Betts Corp., 2017 WL 1319553, at *9 (E.D. Tex. Apr. 10, 2017) (“Rule 703 ‘was not

intended to abolish the hearsay rule and to allow a witness, under the guise of giving expert

testimony, to in effect become the mouthpiece of the witnesses on whose statements or opinions

the expert purports to base his opinion.” (quoting Factory Mut. Ins. Co. v. Alon USA L.P., 705

F.3d 518, 524 (5th Cir. 2013)). Thus, “[a]n expert witness may not simply summarize the out-

of-court statements of others as his testimony,” as Dr. Reinman purports to do here. Id. (quoting

United States v. Smith, 869 F.2d 348, 355 (7th Cir. 1989)).

       Finally, failure to exclude this evidence will result in a time-consuming, confusing, and

unnecessary sideshow because, if VLSI is permitted to present the jury with the Innography

scores for the asserted patents, then Intel should be able to present evidence showing that the

Innography scores are unreliable. In particular, Intel would need to place the Innography scores

in context by presenting

                                       , as well as the many cases—enumerated above—in which

the Federal Circuit, U.S. Patent Office, and district courts have invalidated patents with similarly

high scores. Further, in response to




                                                           Intel would have to present evidence

demonstrating why its own patents are more valuable than the asserted patents.

       To be clear, none of the Innography evidence ought to be presented at trial because the

evidence is inadmissible under the Federal Rules of Civil Procedure and Federal Rules of




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Evidence. But if references and testimony regarding the Innography scores for the asserted

patents are permitted at trial (over Intel’s objection), then, as a matter of fairness, all of the

evidence discussed above should be permitted.         This context is vital for the jury’s proper

evaluation of the weight to be given to Innography scores if VLSI is permitted to present them.

Because that would result in a needless “trial within a trial” that would distract the jury and the

Court from the main issues in the case, this further counsels in favor of excluding the scores

altogether.

                                               ***

       VLSI never took fact discovery on the Innography scores and has no percipient witness

who can testify as to how they were created. Instead, it seeks to use its expert as conduits to

channel evidence that has obvious substantive flaws—and that would confuse rather than assist

the jury.     Whatever purported probative value the scores do have, if any, is therefore

substantially outweighed by the danger of unfair prejudice, juror confusion, and wasting time.

The scores should be excluded.

XVI. MIL NO. 16: EXCLUDE REFERENCES TO DISCOVERY DISPUTES12

       Intel requests that the Court preclude VLSI from presenting evidence and testimony to

the jury referring to any discovery disputes.        Such evidence would be irrelevant, unfairly

prejudicial to Intel, and likely to confuse the jury. See FRE 401, 402, 403.

       First, all discovery disputes in this litigation should be excluded for their lack of

relevance to the trial issues. See FRE 401, 402. Because the discovery disputes have no bearing

on any issues that the jury will be asked to decide (such as infringement, invalidity, and

damages), they should be excluded. See, e.g., Orchestrate HR, Inc. v. Trombetta, 2017 WL


12
  This MIL was filed as Intel MIL No. 2 in the -254 litigation. (D.I. 362 at 3.) In the -254 case,
the Court ruled, “Granted.” (C.A. No. 21-cv-00057, D.I. 507 at 5.)


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inadmissible allegations.

           First, evidence and argument concerning these purported “bad acts” should be excluded

as irrelevant under FRE 402. None of these allegations bears on whether Intel infringes the

asserted patents, whether the asserted claims are valid, or the amount of damages at stake.

Therefore, they should be excluded as irrelevant. See Mobile Telecomms. Techs., 2016 WL

8260584, at *2 (excluding references and argument regarding “unrelated litigations,

investigations, or accusations involving the parties or their affiliates or principles”); Ion, Inc.,

2009 WL 10677596, at *3 (“The parties’ actions in other cases are irrelevant to the present

case.”).

           VLSI argues in its discovery responses



                                                                                           But this

mischaracterizes Intel’s argument.



                                                            VLSI has alternatively suggested that

these allegations are relevant to willfulness. But Intel’s supposed conduct in other, unrelated

contexts is irrelevant to whether Intel infringes the specific asserted claims here (willfully or

otherwise).




             See Intamin, Ltd. v. Magnetar Techs. Corp., 623 F. Supp. 2d 1055, 1072-73, 1078 n.7

(C.D. Cal. 2009) (rejecting attempt to counter unclean hands defense with defendant’s conduct in




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a different litigation, because “allegations of unrelated misconduct by [defendant] are not

relevant to the issues before the Court”), aff’d, 404 F. App’x 496 (Fed. Cir. 2010).

       Second, such evidence and argument also should be excluded under FRE 403 as

misleading and highly prejudicial given that VLSI plainly intends to use the evidence and

argument solely in an effort to cast Intel in an unfavorable light, and to “invite an emotion[al]

response from the jury[.]” DataTreasury Corp. v. Wells Fargo & Co., 2010 WL 11538713, at

*14 (E.D. Tex. 2010) (excluding unfavorable references to defendant unrelated to disputed

issues). Failure to exclude this evidence also will result in a time-consuming, confusing, and

unnecessary sideshow, as Intel will need to spend trial time placing VLSI’s allegations in

context.

       Thus, whatever probative value VLSI claims the evidence has, it is substantially

outweighed by the likely resulting prejudice, confusion, and waste of resources. Whitewater W.

Indus., Ltd. v. Pac. Surf Designs, Inc., 2019 WL 2211897, at *4 (S.D. Cal. 2019) (excluding

references to party’s alleged “misrepresentations and intentional misconduct” because they

would likely “have a significant improper influence on the jury’s determination of the issues in

this case,” as well as “complicate the issues and confuse the jury”); Radware, Ltd. v. F5

Networks, Inc., 2016 WL 590121, at *11 (N.D. Cal. 2016) (“[A]ny marginal relevance of

Radware’s alleged bad acts would be greatly outweighed by the associated unfair prejudice,

waste of time, and confusion.”).

XVIII. MIL NO. 18: EXCLUDE REFERENCES TO EXPERT TESTIMONY IN OTHER
       CASES15

       Before the jury, both parties should be precluded from offering any argument or evidence

about, or otherwise making any reference to the deposition testimony or expert reports of experts

15
  This MIL was filed as Intel MIL No. 10 in the -254 litigation. (D.I. 362 at 3.) In the -254 case,
the Court ruled, “Granted.” (C.A. No. 21-cv-00057, D.I. 507 at 6.)


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who are not offering opinions at the -255 trial. For example,



             . The analyses, opinions, and testimony of such experts should be excluded as

hearsay and under FRE 401, 402, and 403.

       First, statements made by experts who will not be testifying at trial constitute hearsay

under FRE 801 and should be excluded. Fractus, S.A. v. AT&T Mobility LLC, 2019 WL

4805910, at *2-3 (E.D. Tex. 2019) (excluding deposition testimony of non-testifying experts as

hearsay).

       Second, even if statements of experts who are not testifying in this trial were not hearsay,

they should be excluded under FRE 401 and/or 402. Expert opinions pertaining to the claims

and defenses associated with patents not at issue in this trial have no probative value and/or

would be cumulative of the evidence already being presented in this case.




                                                                Further, Dr. Farrens does not have

any unique “vantage point” on these issues that would make his testimony non-cumulative. See

Sanchez v. Swift Transp. Co. of Ariz., LLC, 2017 WL 5643554 (W.D. Tex. 2017).

       Third, these statements should be excluded under FRE 403. There is a substantial risk of

undue prejudice and juror confusion if statements made by experts opining about different

patents and products than those at issue here are divorced from the context in which those

opinions have been offered. See, e.g., Fractus, 2019 WL 4805910, at *3 (holding that deposition




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testimony of non-testifying experts “should be excluded under FRE 403” because “[s]uch

statements are likely to confuse the issues before the jury”).

XIX. MIL NO. 19: EXCLUDE COMPARISONS OF BURDEN OF PROOF
     STANDARDS16

       Intel respectfully requests that the Court exclude evidence, argument, suggestion,

references, or elicitation of testimony characterizing the burden of proof or other legal standards

with reference to areas of law other than Title 35 of the U.S. Code (including but not limited to

child custody and mental commitment proceedings). FRE 401-03. There is no reason to depart

from the properly articulated burdens of proof in this case, which the Court will provide to the

jury. For example, analogizing the legal standard for finding invalidity of a patent to the legal

standard for termination of parental rights would be unduly prejudicial, confusing, and

inflammatory, and also would mislead the jury. It may also improperly influence the jury’s

decision-making process by inviting a comparison with their past experiences or preconceptions

from those unrelated areas of law to this case. See Stragent, LLC v. Intel Corp., No. 6:11-cv-

421-TBD-JDL, D.I. 274, at 2 (E.D. Tex. 2014) (excluding “[r]eferences to the ‘clear and

convincing’ standard in the Texas Family Code”).




16
  This MIL was filed as Intel MIL No. 14 in the -254 litigation. (D.I. 362 at 3.) In the -254 case,
the Court ruled, “Denied.” (C.A. No. 21-cv-00057, D.I. 507 at 6.)


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Dated: March 22, 2021                         Respectfully submitted,

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                           CERTIFICATE OF CONFERENCE

       Defendant Intel Corporation’s counsel conferred with opposing counsel regarding the

foregoing Motion in Limine, and opposing counsel indicated that Plaintiff is opposed to the

Motions in Limine. Accordingly, Intel’s Motions in Limine and the relief requested herein are

opposed.

                                                     /s/ J. Stephen Ravel
                                                     J. Stephen Ravel




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                               CERTIFICATE OF SERVICE

       I hereby certify that all counsel of record are being served with a copy of the foregoing

document via electronic mail on March 22, 2021.

                                                       /s/ J. Stephen Ravel
                                                       J. Stephen Ravel




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